
234 Ind. 417 (1955)
127 N.E.2d 341
INDIANA DEPARTMENT OF STATE REVENUE, INHERITANCE TAX DIVISION
v.
SHORT, ADMINISTRATRIX, ETC.
No. 29,261.
Supreme Court of Indiana.
Filed June 24, 1955.
Edwin K. Steers, Attorney General, and George B. Hall, Deputy Attorney General, for appellants.
Nichols &amp; Nichols, of Knox, for appellee.
*418 PER CURIAM
This is an appeal from the Starke Circuit Court of the State of Indiana. It is a matter growing out of a decedent's estate, namely, a redetermination of an inheritance tax. Appeals growing out of matters connected with decedent's estates should be taken to the Appellate Court. State of Indiana ex rel. Green v. Jeffries et al. (1925), 83 Ind. App. 524, 149 N.E. 373.
This appeal was erroneously filed in the Supreme Court. Under the authority of § 4-217, Burns' 1946 Replacement, it is ordered transferred to the Appellate Court of the State of Indiana.
NOTE.  Reported in 127 N.E.2d 341.
